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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
IN RE: TELEXFREE SECURITIES             )
LITIGATION                              )         CIVIL ACTION
                                        )         NO. 4:14-02566-TSH
                                        )
______________________________________ )



              ORDER AND MEMORANDUM ON WELLS FARGO BANK’S
                     MOTION TO COMPEL (Docket No. 1734)

                                        November 13, 2023
HILLMAN, S.D.J.

               This multi-district litigation involves dozens of defendants who allegedly aided

and abetted a fraudulent pyramid scheme run by TelexFree. Wells Fargo Bank, N.A. (“Wells

Fargo”) moves to compel documents and a privilege log from Plaintiffs. (Docket No. 1734). For

the reasons below, the motion is granted in part and denied in part. As discussed below, the

Plaintiffs shall provide from other parties and third-parties the requested non-privileged

documents relating to TelexFree participants in their control, non-privileged documents from the

Bankruptcy Trustee, non-privileged documents from the Craft Settlement, and the requested

documents relating to Notice. Plaintiffs shall comply with the requests above and simultaneously

produce a privilege log by December 8, 2023. Fourteen days after the production any disputes or

complaints about the sufficiency of document production will be waived.

                                           Background

       In its motion to dismiss, Wells Fargo contested whether plaintiffs adequately alleged a

primary fraud in its motion to dismiss, rather than the allegations that it aided and abetted said

fraud. (Docket No. 1418, at 5-7). The complaint alleges that certain Wells Fargo employees (as
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well as employees of a related entity, Wells Fargo Advisors) were intimately involved in the

Telex Free fraud and that Wells Fargo is vicariously liable for their actions. It further alleges that

Wells Fargo had actual knowledge that TelexFree was fraudulent via its internal review

mechanisms and the public reporting on TelexFree, but continued to provide services to

TelexFree and its agents. (Fifth Amended Consolidated Complaint, at ¶¶ 314-504). The plaintiffs

and Wells Fargo have been engaged in discovery for nearly a year and have been engaged in

multiple discovery disputes. (Docket Nos. 1591; 1678; 1692; 1734).

                                        Standard of Review

       To justify a motion to compel, the information sought must be: “(1) not privileged; (2)

relevant to the claim or defense of any party; and (3) proportional to the needs of the case.”

Smith v. Turbocombustor Tech., Inc., 338 F.R.D. 174, 176 (D. Mass. 2021) (citation omitted).

                                              Analysis

                                               1. Timeliness

       This motion for document production comes almost 90 days after the close of document

discovery. The Court appreciates that the parties attempted to resolve this without recourse to a

motion and notes that Plaintiffs failed to comply with Wells Fargo’s requests by the July 31,

2023 deadline. However, the Court cannot ignore the lateness of this motion. It will not deny it

on those grounds, but it colors the relief available to Wells Fargo.

                           2. Documents from Other Parties and Third-Parties

       Wells Fargo requests this Court order Plaintiffs to “Provide [Wells Fargo] with complete

and unaltered copies of all productions Plaintiffs received from other defendants and third

parties, as received by Plaintiffs (with accompanying native files, load files, metadata, extracted

text) and all document requests, subpoenas and responses, and cover letters or correspondence.”



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       “[D]istrict courts must be afforded wide latitude in the management of discovery.” Danny

B. ex rel. Elliott v. Raimondo, 784 F.3d 825, 834 (1st Cir. 2015). Wells Fargo raises valid

complaints about the Plaintiffs’ document production practices and inconsistencies between the

amount of files Plaintiffs’ counsel claims to have received and the amount of files Wells Fargo

received. It is not clear Plaintiffs have access to the original documents. The Court does not

understand from the filings that the Plaintiffs have destroyed or spoiled evidence, but rather that

they have processed the original documents in a way that makes them difficult for Wells Fargo to

organize. That said, Plaintiffs did agree to produce original copies in June. In the interest of

efficiency, given the late-breaking nature of the request and its technical nature, the Court makes

the following order: Plaintiffs are ordered to either comply with Wells Fargo’s request and

produce original copies of the requested documents, along with the requested accompanying

materials, or to explain why such a method of production is no longer possible, and produce the

documents requested by another method.

                               3. Documents Relating to TelexFree Participants

       Wells Fargo requests this Court order Plaintiffs to “[c]onduct a thorough, good-faith

search to produce responsive documents in the possession of Plaintiffs or their counsel relating to

all TelexFree participants.”

       Wells Fargo argues that under Rule 34, “If the documents are responsive and are already

in counsel’s files, they must be produced—full stop.” However, the sources they cite fail to

support their broad reading of Rule 34. First, Rule 34 itself reads, “[a] party may serve on any

other party a request within the scope of Rule 26(b): (1) to produce . . . the following items in the

responding party’s possession, custody, or control.” (emphasis added). Rule 34 applies to

parties. It does not apply to counsel for parties. Hobley v. Burge, 433 F.3d 946, 950 (7th Cir.



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2006) (“Rule 34 applies only to parties. It is the [Defendant], not [the Counsel], that is the

responsive party in this suit.”); see also Wright & Miller, Federal Practice and Procedure, § 2208

(3d ed.). Also, Wells Fargo’s interpretation of Rule 34 fails to grapple with the presumption

against serving non-party Rule 45 subpoenas on opposing counsel. See generally (Docket No.

1726). That said, any document that the Plaintiffs in this action could request and receive from

their counsel is considered to be in their control for the purposes of Rule 34. See, e.g., American

Soc. For Prevention of Cruelty To Animals v. Ringling Bros. and Barnum & Bailey Circus, 233

F.R.D. 209, 212 (D.D.C. 2006); see also Wright & Miller, Federal Practice and Procedure, §

2210 (3d ed.). To the extent such documents are privileged work product or protected by

attorney-client privilege, Plaintiffs must produce a privilege log. Cf. Ringling Brothers, 233

F.R.D. at 212-13 (finding documents were in the client’s control, but protected by work product

privilege).

        Plaintiffs attempts to resist production are not persuasive. First, Plaintiffs construe Wells

Fargo request as applying to specific documents. While Local Rule 37.1(b)(5) requires the

moving party to set out the specific grounds of their complaint and to meet and confer with the

non-moving party prior to filing a motion, Wells Fargo is clearly pointing to specific deficiencies

as grounds for a broader motion to compel. See, e.g., (Docket No. 1725, at 5-7) (granting

Plaintiffs’ motion to compel against Wells Fargo and ordering additional searches based on

deficiencies with Wells Fargo’s search process as evidenced by the lack of production of specific

documents). Second, Plaintiffs argue that TelexFree participants are protected by the Absent

Class Member doctrine. The Court has already dismissed this argument. (Docket No 1528, at 4). 1


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          This Court has previously ruled that the named plaintiffs in the so-called “TelexFree cases” are
no longer parties insofar as the consolidated complaints have superseded the original complaints. See
generally (Docket No. 1528). However, this Court has not ruled on the status of the named plaintiffs in
the previous consolidated complaints who have “dropped out.” (Id. at 3-4). Because the Plaintiffs
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Furthermore, the chances of abuse are low because Wells Fargo is not actually requesting

documents from the “absent class members,” but the Plaintiffs in this litigation. Cf. In re Porsche

Automobil Holding SE, 985 F.3d 115, 121 (1st Cir. 2021) (the primary danger the absent class

member doctrine seeks to guard against is that defendants will use discovery to terrorize absent

class members into opting out or seek out absent class members to preemptively settle with

them). Third, Plaintiffs argue that any information on TelexFree participants is irrelevant to the

Aiding and Abetting claims against Wells Fargo. This Court has ruled that TelexFree’s

fraudulent nature is, generally, undisputed. However, that TelexFree committed a fraud does not

prevent a defendant from arguing that there was no fraud against these plaintiffs, or, more

relevantly for class certification, that the nature of the underlying fraud means that even if it

happened, the harms it caused are not suitable for class adjudication.

        The Plaintiffs are ordered to conduct a thorough, good-faith search to produce responsive

documents in the control of the Plaintiffs—with the gloss above in mind—relating to any

TelexFree participants.

                                 4. Documents from the Bankruptcy Trustee

        Wells Fargo requests this Court order Plaintiffs to “[p]roduce all documents Plaintiffs

received from the Bankruptcy Trustee.” Plaintiffs argue that they have provided Wells Fargo

with the “SIG System” and have otherwise “produced all documents received from the Trustee in

the same format as they were received.” Wells Fargo points to schedules, analyses, and

communications between Plaintiffs’ Counsel and the Bankruptcy Trustee that have not been

produced and are not available via the SIG system. This Court agrees with Wells Fargo.



maintain they will continue to provide discovery regarding those individuals, this Court need not decide
that question.


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Plaintiffs are ordered to produce all responsive documents received from the Bankruptcy

Trustee, including communications with the Trustee, in their control—with the analysis of

“control” above in mind—including but not limited to the documents referenced in Wells

Fargo’s motion. If any of these materials are privileged, Plaintiffs must create a privilege log.

                                5. Documents Concerning Craft Settlement

         Wells Fargo requests this Court order Plaintiffs to “[p]roduce all responsive documents

relating to Joseph Craft, his settlement with Plaintiffs, and the preparation of the Craft affidavit,

including native versions of all draft affidavits.” Plaintiffs assert they have “made good faith

efforts to produce all non-privileged documents related to the settlement, including

communications with Craft’s attorney.” However, they also assert that they will “search for and

produce the March 17, 2017 email referenced in Defendant’s Motion.” In addition to that

specific letter, Plaintiffs shall make a good faith effort to search for any communications with

Craft’s attorney and produce all non-privileged responsive communications. Plaintiffs also assert

that “any internal drafts of Craft’s affidavit prepared by Plaintiffs are protected by the attorney-

work product privilege.” Without ruling on any claim of privilege, including waiver, Plaintiffs

must produce a privilege log.

                                             6. Setting a Date

         In addition to the requests above, Wells Fargo requests documents relating to the notice

process in a previous settlement as well as a privilege log. Plaintiffs do not contest these

requests, instead arguing that they are in the process of complying with them. In response, Wells

Fargo requests this Court set a date for the completion of these tasks, as well as the requests

above.




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       Plaintiffs shall comply with the requests above and simultaneously produce a privilege

log by December 8, 2023. Fourteen days after the production any disputes or complaints about

the sufficiency of document production will be waived.

                                           Conclusion

       As discussed above, the Plaintiffs shall provide from other parties and third-parties the

requested non-privileged documents relating to TelexFree participants in their control, non-

privileged documents from the Bankruptcy Trustee, non-privileged documents from the Craft

Settlement, and the requested documents relating to Notice. Plaintiffs shall comply with the

requests above and simultaneously produce a privilege log by December 8, 2023. Fourteen days

after the production any disputes or complaints about the sufficiency of document production

will be waived.



SO ORDERED

                                                                        /s/ Timothy S. Hillman
                                                                     TIMOTHY S. HILLMAN
                                                                   SENIOR DISTRICT JUDGE




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